              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :               NO. 1:19-CV-00622
                                    :
LEIGH M. CHAPMAN, in her official   :               JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and   :               ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :
Elections and Commissions,          :
                                    :
                  Defendants.       :

             DEFENDANTS’ MOTION TO ALTER OR AMEND
             JUDGMENT PURSUANT TO FED. R. CIV. P. 59(e)

      Pursuant to Rule 59(e) of the Federal Rules of Civil Procedure, Defendants

Leigh M. Chapman, Acting Secretary of the Commonwealth, and Jonathan M.

Marks, Deputy Secretary for Elections and Commissions, (collectively, “the

Department of State”), by and through their undersigned counsel, hereby

respectfully request that the Court alter and/or amend the judgment entered on

March 31, 2022 (ECF 85) to remove any requirement that the Department of State

identify and produce material reviewed by a consulting expert and to instead direct

that material review by a consulting expert retained by outside counsel for the

Department of State is not required to be disclosed to Plaintiff The Public Interest
Legal Foundation in response to its request under the National Voter Registration

Act (“NVRA”), 52 U.S.C. § 20507(i)(1).1

       In addition, the Department of State respectfully requests that the Court

clarify that (1) the names, addresses and other personal identifying information of

letter recipients who were not confirmed to be noncitizens may properly be

redacted and need not be disclosed, and (2) the names, addresses and other

personal identifying information of letter recipients who returned general

cancellation requests may properly be redacted and need not be disclosed or,

alternatively, the Court should declare that the completed cancellation forms are

not proof of non-citizenship.




   1
       The relief sought in this motion is included in Defendants’ Motion For
Clarification and for Partial Reconsideration filed on April 14, 2022 (ECF 88. 89).
A motion for reconsideration is the “functional equivalent” of a Rule 59(e) motion
to alter or amend a judgment and therefore likewise tolls the time for filing a notice
of appeal under Rule 4(a)(4) of the Federal Rules of Appellate Procedure. See
Federal Kemper Ins. Co. v. Rauscher, 807 F.2d 345, 348 (3d Cir. 1986). The
instant motion styled as a request for relief under Rule 59(e) is being filed for
avoidance of any doubt on the relief sought or the authority to grant such relief.
See, e.g., ECF 90 at 1, 7.
                                          2
      The grounds supporting this motion are set forth in the accompanying

memorandum of law in accordance with Local Rule 7.5.

                                     Respectfully submitted,

                                     /s/ Donna A. Walsh
                                     Daniel T. Brier
                                     Donna A. Walsh
                                     Suzanne P. Conaboy

                                     Counsel for Defendants,
                                     Acting Secretary of the Commonwealth
                                     Leigh M. Chapman and Deputy Secretary
                                     for Elections and Commission Jonathan M.
                                     Marks

Myers, Brier & Kelly, LLP
425 Biden Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: April 28, 2022




                                       3
                 CERTIFICATE OF NON-CONCURRENCE

      I hereby certify that I sought the concurrence of counsel for Plaintiff, Noel

H. Johnson, Esquire, in this motion. Mr. Johnson does not concur in this motion.


                                       /s/ Donna A. Walsh
                                       Donna A. Walsh

Date: April 28, 2022
                         CERTIFICATE OF SERVICE

      I, Donna A. Walsh, hereby certify that a true and correct copy of the

foregoing Motion To Alter or Amend Judgment Pursuant to Fed. R. Civ. P. 59(e)

was served upon the following counsel of record via the Court’s ECF system on

this 28th day of April 2022:

                         Kaylan Phillips, Esquire
                         Noel H. Johnson, Esquire
                         Public Interest Legal Foundation
                         32E Washington Street, Suite 1675
                         Indianapolis, IN 46204

                         Linda A. Kerns, Esquire
                         Law Offices of Linda A. Kerns, LLC
                         1420 Locust Street, Suite 200
                         Philadelphia, PA 19102

                                                   /s/ Donna A. Walsh
                                                   Donna A. Walsh
